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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TIAWAN BRITTON,             )
                            )
    Plaintiff,              )
                            )                CIVIL ACTION
vs.                         )
                            )                FILE No. 1:19-cv-05471-WMR
EAST POINT VENTURE 92, LLC, )
                            )
    Defendant.              )

     ORDER APPROVING CONSENT DECREE AND DISMISSAL OF
                DEFENDANT WITH PREJUDICE

      The Court, having read and reviewed the parties’ Joint Stipulation and the

Consent Decree attached to the Joint Stipulation as Exhibit “A,” and for good

cause shown, it is hereby ORDERED and ADJUDGED that the Joint Stipulation

to Approve Consent Decree and Dismiss with Prejudice is GRANTED. The Court

shall retain jurisdiction to enforce the Consent Decree. Each party shall bear their

own attorney’s fees and costs except as detailed in the parties’ Consent Decree.

      SO ORDERED, this 17th day of September, 2020.
